                        Case 2:10-cr-00633-SRC                                                                               Document 208                                Filed 11/26/12                                            Page 1 of 1 PageID: 1550


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